Case f23-0v-01452-DMG-MRW Document 3 Filed 03/04/13 Page 1of52 Page ID #68

 

 

 

 

 

 

FILER
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3 || Sacramento, CA 95834 . Pig [2: | 0
Telephone: (916) 563-0100 MEE RK
4 || Facsimile: (916) 563-0114 PATER EIST Coury
ANGE A ALIF,
5 || Attorneys for Plaintiffs By
CLERK, Us i AICT COURT
7
UNITED STATES DISTRICT COURT
.| FEB 28 2013
| CENTRAL DISTRICT OF CALIFORNIA
RAL DISTRICT OF CALIFORN
10 | M.C., by and through his guardian ad litem, ) bens 1 3 J l 4 5 A
M.N; and M.N., Parent, ) we
1] ) COMPLAINT FOR RELIEF
Plaintiffs, ) UNDER THE INDIVIDUALS
12 y WITH DISABILITIES
vs. ) EDUCATION ACT
13 ) (20 U.S.C. § 1400 et seq.)
ANTELOPE VALLEY UNION HIGH )
141 SCHOOL DISTRICT, )
)
15 Defendants. )
46 )
17 JURISDICTION
18 |} 1. This Court has jurisdiction over this complaint pursuant to 20 U.S.C. § 1415@)@).
19
20 VENUE
21 |} 2. Venue is proper in this Court under 28 U.S.C. § 1391(b).
22 | 3. All of the events that are at issue in this dispute took place within the Central District of
23 California.
24 | 4. Plaintiffs reside within the Central District of California.
25 4 5. Defendant Antelope Valley Union High School District is a public entity located within the
26 Central District of California.
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Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 1

 

 
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PARTIES

U.S.C. § 1400 et seq.

legal rights and remedies set forth in the IDEA. 20 U.S.C. § 1400 et seq.

Union High School District.

and existing under the laws of the State of California (hereinafter “the District”).

BASIS OF THE DISPUTE

10. Under the Individuals with Disabilities Education Act (“IDEA”), the parents of a student with

the special education services provided by a local educational agency. 20 U.S.C. § 1415(b) &

(f).

Hearings (OAH) alleging that the District had procedurally and substantively denied Student a

FAPE for the 2012-2013 school year. A copy of the Due Process Complaint is attached hereto

as Exhibit “1.”

federal law. 20 U.S.C. § 1415(c)(2)(B)(i).

13. On October 9, 24, and 25, 2012, this matter proceeded to hearing on Plaintiffs’ Due Process

Administrative Hearings.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.)

 

6. Plaintiff M.C. (hereinafter “Student”), is eligible for special education services under the
qualifying condition of multiple disabilities and visual impairment and is entitled to the legal
rights and remedies set forth in the Individuals with Disabilities Education Act (“IDEA”). 20
7. Plaintiff M.N. is the mother of M.C., a student with a disability. Plaintiff M.N. is entitled to the

8. Plaintiffs reside in Palmdale, California, within the boundaries of Defendant Antelope Valley

9. Defendant Antelope Valley Union High School District is a public education agency organized

a disability may request a state-level administrative hearing to challenge the appropriateness of

11. On August 14, 2012, Plaintiffs filed a Due Process Complaint with the Office of Administrative

12. The District failed to file a response to Plaintiffs’ Due Process Complaint as required under

Complaint before Adrienne L. Krikorian, Administrative Law Judge (ALJ) with the Office of

14, On November 27, 2012, the ALJ issued a written decision (hereafter “Decision”). A complete

copy of the Decision is attached to this complaint as Exhibit “2” and incorporated herein by

 
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reference.

The ALJ improperly conducted the state-level administrative hearing, ignored relevant evidence,

misstated evidence in her Decision, and misapplied the law. Therefore, the ALJ’s Decision

should not be given any deference.

Plaintiffs appeal the ALJ’s Decision and seek a trial de novo.

Plaintiffs seek reversal of the ALJ’s Decision in its entirety.

Plaintiffs seek findings by this Court that Student was substantively and procedurally denied a

free appropriate public education for the 2012-2013 school year,

Plaintiffs seek an order requiring:

a. the District convene an IEP team meeting and develop goals in all areas of need;

b. the District clearly identify the assistive technology equipment, software and devices
Student requires in the IEP and the District be ordered to provide Student with an
embosser, talking compass, and talking watch;

c. the District provide Student with six hours per week of vision services and one hour per
week of orientation and mobility services, and clearly document the services in the IEP;

d. the District provide Student with a structure social skills program specifically tailored to
meet his needs as a blind student;

e. the District be required to fund Student’s counsel’s attendance at all IEP team meetings
conducted during the 2012-2013 and the 2013-2014 school years;

f. the District be ordered to provide Student with 14.25 hours of compensatory education
in the expanded core curriculum; and

g. the District be ordered to hire a qualified teacher of the visually impaired and a trained
one-to-one aide and District make a referral to the California School for the Blind for
onsite training of staff and development of Daily Activity Schedules.

Plaintiffs seek reimbursement for all legal fees incurred in connection with the underlying

administrative hearing and this action.

Plaintiffs have exhausted their administrative remedies.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 3

 
Case 4:13-cv-01452-DMG-MRW Document 3 Filed 03/04/13 Page 4of52 Page ID#:71

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FACTUAL ALLEGATIONS
Student's birth date is October 5, 1997.
Student has been diagnosed with Norrie Disease which has rendered him blind. In addition,
Student has global developmental delays. Student has deficits in speech and language, fine and
gross motor skills, vision, orientation and mobility, social skills, and all academic areas, Student
also has significant deficits in adaptive skills, Braille, and Nemeth code.
In May 2012, Marquis was assessed by Dr. Robert Patterson, which was an independent
educational evaluation funded by the elementary school district. Dr. Patterson found that
Marquis had relative strength in oral vocabulary. However, Marquis had global deficits in all
other areas of functioning.
Dr. Patterson recommended that Marquis be taught chunking strategies and memory strategies
including mneumonics and re-auditorization which would be taught by the school psychologist.
Dr. Patterson also recommended that Marquis be provided with the following accommodations:
keeping oral directions short and simple, asking the student to paraphrase the directions to ensure
understanding, provide kinesthetic cues for the steps to be followed, access to Recordings for the
Blind, and an appropriate audio player.
Dr. Patterson also recommended that staff working with Marquis be provided with instruction
from a mobility trainer, occupational therapy, physical therapy, a social skills group, and small
group speech and language therapy.
In June 2012, Marquis was assessed by Sonja Biggs, a teacher of the visually impaired, which
was an independent educational evaluation funded by the elementary school district.
Ms. Biggs recommended that Marquis be provided with one hour per day of Braille instruction,
one hour per week of orientation and mobility services, and one hour per week of TVI services
to address independent living skills and access to the expanded core curriculum.
In addition, Ms. Biggs recommended that Marquis receive Braille books, curriculum for using
JAWS, a laptop computer, screen reading software, a talking watch, a cellular phone, abacus,

talking calculator, Duxbury software, OCR software, scanner, embosser, and printer.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 4

 
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Ms. Biggs also recommended that Marquis be provided with an aide trained in Braille throughout
his school day and that he receive textbooks and all instructional materials in Braille and
electronic format or audio format. Ms. Biggs also recommended that Marquis’ work should be
interlined, that he should be taught organizational skills and daily activities using Daily Activity
Routines implemented at home and school, that he should be given extended time, real
objects/models for learning, accommodations for State testing, a hearing evaluation with an
audiologist and a Deaf and Hard of Hearing Specialist, and a safety plan to address his needs
during school emergencies/safety drills.

Ms. Biggs also recommended a referral to an agency such as California School for the Blind for
assistance in training and program oversight.

On August 2, 2012, the District convened an IEP team meeting. The District indicated that
Marquis did not require assistive technolo gy or services. This is completely inaccurate. As
indicated above, Ms. Biggs made recommendations for numerous items of assistive technology.
Marquis’ mother had no way of knowing what Marquis will or will not be provided from Ms.
Biggs’ recommendations.

The August 2, 2012 IEP offered Marquis 240 minutes per month of specialized vision services
and thirty minutes per week of orientation and mobility services,

The District failed to provide Marquis with the recommended level of orientation and mobility
training, Braille instruction, and teacher of the visually impaired (TVI) services.

The District failed to provide Marquis with an adequately trained aide at the beginning of the
school year.

The District failed to provide Marquis with access to the expanded core curriculum and failed
to develop goals in this area, specifically as it related to daily living skills, social skills, and
community based orientation and mobility.

The District failed to provide a referral to the California School for the Blind for training,
assessment and program supervision/implementation as recommended by Ms. Biggs.

It was also recommended by Ms. Biggs that Marquis receive orientation and mobility services

prior to the beginning of the school year as transition services from middle school to high school.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 5

 
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The District failed to provide Marquis with such services.

Furthermore, the orientation and mobility and TVI services provided are not adequate because
they do not address the expanded core curriculum or Marquis’ access to the community.

The District has failed to offer Marquis a social skills program as recommended by both Dr.

Patterson and Ms. Biggs.

FIRST CLAIM FOR RELIEF
DENIAL OF A FREE APPROPRIATE PUBLIC EDUCATION
DURING THE 2012-2013 SCHOOL YEAR
Plaintiffs incorporate by reference above paragraphs 1 through 40 of this Complaint.
A. The District Failed to Establish and Maintain Procedural Safeguards
Under the IDEA, a local educational agency must establish and maintain procedural
safeguards to ensure that children with disabilities and their parents are guaranteed procedural
safeguards. (20 U.S.C. § 1415(a).)
The District failed to file a response to Plaintiffs’ Due Process Complaint as required under
federal law. 20 U.S.C. § 1415(c)(2)(B)(i).
The District failed to provide a clear offer of services. The August 2, 2012 IEP indicated that
M.N. would be provided with 240 minutes per month of TVI service.
On the first day of hearing, the District presented Student with an Addendum to the August 2,
2012 IEP dated September 17, 2012. The Addendum indicated that the District was offering
M.N. 240 minutes per week.
Plaintiffs were not provided with a copy of the Addendum prior to the first day of hearing.
At the hearing, the District asserted it was providing M.N. with five hours per week of TVI
services.
The District failed to file a response to Plaintiffs’ Due Process Complaint as required under
federal law. 20 U.S.C. § 1415(c)(2)(B)(i).
The District failed to provide evidence five days before the hearing in this matter

commenced. California Education Code Section 56501.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 6

 
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1] 50. Plaintiffs therefore seek a judicial order requiring the District be required to fund Student's

2 counsel's attendance at all IEP team meetings conducted during the 2012-2013 and the 2013-

3 2014 school years.

4] 51. Plaintiffs also seek compensatory education for the TVI services it failed to provide MLN.

5

6 B. The District Failed to Develop Goals in all Areas of Need

74 52. Under the IDEA, a local educational agency (LEA) must develop an individualized

8 educational program (IEP). (20 U.S.C. § 1414(d)(3).)

9} 53. The IEP must include present levels of academic achievement and functional performance:
10 measurable annual goals; a description of the student’s progress toward meeting the annual
1] goals; a statement of the special education and related services and supplementary aids and
12 services the LEA will provide the student; whether the student will participate in regular class
13 and activities; what accommodation are necessary for the student; and the projected
14 beginning date for services and modifications. (20 U.S.C. § 1414(d4)(1)@(D-(V).)

15] 54. The District is an LEA. (20 U.S.C. § 1401(19); Cal. Ed. Code § 56026.2.)

16] 55. On August 2, 2012, the District convened an IEP team meeting.

17|| 56. For each area that a special education student has an identified area of need, the IEP team

18 must develop measurable annual goals. (Cal. Ed. Code § 56345.)

19] 57. Ms. Sonja Biggs has a masters degree in school counseling and guidance, is completing her

20 doctoral degree in education, and is a teacher of the visually impaired with nine years of

21 experience,

22,58. At the due process hearing, Ms. Biggs testified that M.C. required goals in the areas of life

23 skills, business travel, and residential travel.

241,59. At the August 2, 2012 IEP, the District did not develop new goals for M.C.

25], 60. At the August 2, 2012 IEP, the District claimed that it was unable to provide M.C. new goals

26 until the District staff had a chance to work with M.C.

27], 61. The District staff that worked with M.C. included Ms. Knitter and Mr. Lund.

28 || 62. Prior to working with M.C., Ms. Knitter was not a credentialed teacher of the visually
Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 7

 

 
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impaired. Ms. Knitter had worked with M.C. fora year.

Mr. Lund had worked with M.C. during the 2011-2012 school year.

The District failed to develop goals for M.C. in all areas of need.

Plaintiffs therefore seek a judicial order requiring the District develop goals for M.C. in the

areas of life skills, social skills, business travel, and residential travel.

C. The District Failed to Clearly Identify in Student’s IEP and Provide Assistive Technology

Assistive technology device is any item, piece of equipment, or product system, whether
acquired commercially off the shelf, modified, or customized, that is used to increase,
maintain, or improve functional capabilities of a child with a disability. (20 U.S.C. §
1401(1).)
Under the IDEA, the IEP must document “whether the child needs assistive technology
devices and services.” (20 U.S.C. § 1414(d)(3).)
The local educational agency is responsible for providing other specialized equipment for use
at school that is needed to implement the individualized education program. (Cal. Ed. Code
§ 56363.1.)
The District failed clearly identify the assistive technolo gy equipment, software, or devices
M.C. required in the IEP.
Ms. Sonja Biggs testified at hearing that M.C. required an embosser,
Ms. Biggs testified at hearing that M.C. required a talking compass.
Ms. Biggs testified at hearing that M.C. required a talking watch.
Plaintiffs therefore seek a judicial order requiring the District provide Student with an
embosser, talking compass, and talking watch.
Additionally, Plaintiffs therefore seek a Judicial order requiring the District clearly identify
what assistive technology M.C. requires.

D. The District Failed to Clearly Document Services in IEP
Under the IDEA, a statement of the special education and related services and supplementary
aides and services to be provided to the child ...” and “the anticipated frequency, location, and

duration of those services and modifications.” (20 U.S.C. § 1414(d)(1)(A)(ii) and (iv); see

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 8

 
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1 also Cal. Ed. Code § 56345(a)(6-7).)

2} 76. The local education agency is responsible for a Student’s education and has a duty to make a
3 clear IEP offer. (See Union School District v, Smith (9th Cir. 1992) 15 F.3d 1519.)

4] 77. The District failed to clearly document which services it was providing to M.C., including the
5 frequency and duration of which the services were being delivered.

6 || 78. M.C.’s August 2, 2012 IEP documents that he was to receive 240 minutes per month of

7 vision services and 30 minutes per week of orientation and mobility services.

8 || 79. At the hearing, the District provided evidence of a September 17, 2012 IEP Amendment.

9} 80. The September 17, 2012 IEP Amendment offered M.C. 240 minutes (four hours) per week of
10 vision services.
11] 81. M.N. did not receive a copy of the September 17, 2012 IEP Amendment until the first day of
12 hearing.
13/82. The District failed to provide a response to M.C. and M.N.’s due process complaint.
14 |) 83. Plaintiffs M.C. and M.N. had no reason to know that the District had offered M.C. additional
15 services because the District failed to respond.
16] 84. Ms. Kristen Knitter is an employee of the District. Ms. Knitter is M.C.’s teacher of the
17 visually impaired.
18] 85. Ms. Kathleen Astourian is an employee of the District, Ms. Astorian is M.C.’s program
19 specialist for M.C.’s IEP.
20} 86. At the hearing, Ms. Knitter and Ms. Astourian testified that Student was to be provided with
21 five hours per week of vision services.
22, 87. | The August 2, 2012 IEP document does not match the testimony of the District employees.

23 || 88. The September 17, 2012 IEP Amendment document does not match the testimony of the

24 District employees.

25 || 89. The District did not clearly document what services it was providing to M.C.

26 | 90. Plaintiffs therefore seek a judicial order requiring the District clearly document what services
27 it is providing to M.C.

28 | ///

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 9

 

 
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E. The District Failed to Provide a Structured Social Skills Program

Ms. Sonja Biggs observed M.C. in his educational setting. Ms. Biggs reported that there was
a lack of social interaction between M.C. and his peers.
In her report, Ms. Biggs recommended that the District provide M.C. with social skills
program.
Dr. Bob Patterson testified at the hearing that M.C. was isolated an did not interact with his
peers.
Plaintiffs therefore seek a judicial order requiring the District to provide M.C. with a
structured skills program.

F. The District Failed to Instruct Student in the Expanded Core Curriculum
The California Department of Education (CDE) has established guidelines for providing
students with visual impairments, including blind students with educational services (Policy
Guidelines for Educating Blind and V; isually Impaired Students, Office of Special Education
Programs, 23 IDELR 377 (1995).)
The expanded core curriculum identifies nine areas that a blind student must be educated in:
compensatory skills, orientation and mobility, social interaction skills, independent living
skills and personal management, recreation and leisure, career and vocational education,
assistive technology, visual efficiency skills, and self determination.
M.C. has not received instruction in the expanded core curriculum.
M.C. required the expanded core curriculum to receive a free appropriate public education.
Because the District failed to provide M.C. a free appropriate public education, he is entitled
to compensatory education.
Compensatory education is a form of equitable relief that is a proper remedy under the
Individuals with Disabilities Education Act to preserve a disabled child's right to a free and
appropriate public education. (Murphy v. Timberland Regional School District (1st Cir.
1992) 973 F.2d 13,16; Burr v. Ambach (2nd Cir. 1988) 863 F.2d 1071; Lester H. v. Gilhool
(3rd Cir. 1990) 916 F.2d 865; Miener v. State of Missouri (8th Cir. 1986) 800 F.2d 749;
Robert D. v. Andrews (11th Cir. 1991) 933 F.2d 1576.)

 

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 10

 

 
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101. Plaintiffs therefore seek a judicial order requiring the District to provide Student with 14.25

hours of compensatory education in the expanded core curriculum.

102. The ALJ completely ignored the evidence that the District failed to provide Student with five

hours per week of specialized vision services.

G. The District Failed to Provide Qualified and Fully Trained Staff

103. Under the IDEA, the District must “provide for instruction in Braille and the use of Braille”
for a student who is blind or visually impaired. (20 U.S.C. § 1414(d)(3)(B)Gii).) LEAs shall

take measurable steps to recruit, hire, train, and retain highly qualified personnel to provide

special education. (Cal. Ed. Code § 56070(b).)
104. M.C. is a visually impaired student.
105. M.C. requires instruction in Braille.
106. Mr. Sanchez is the District aide assigned to M.C.
107. Mr. Sanchez is not trained in Braille.
108. Mr. Paul Lund is the District orientation and mobility teacher.
109. Mr. Lund has taught M.C. for approximately four years.
110. Mr. Lund provided M.C. with a cane that was eighteen inches too short.
111. Ms. Knitter is M.C.’s teacher of the visually impaired (TVID).
112. At hearing, Ms. Knitter testified she had a caseload of twenty students.
113. Athearing, Ms. Knitter testified that according to California Department of Education
guideline, a TVI should have a caseload of eight to fifteen students.
114. Ms. Knitter’s caseload exceeded CDE guidelines.

115. Neither Mr. Lund nor Ms. Knitter had adequately assessed M.C.

116. Plaintiffs therefore seek a judicial order requiring the District be ordered to hire a qualified
teacher of the visually impaired and a trained one-to-one aide. Additionally, Plaintiffs seek a

judicial order requiring the District make a referral to the California School for the Blind for

onsite training of staff and development of Daily Activity Schedules
117. The District has denied M.C. a free appropriate public education during the 2012-2013

school year.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 11

 
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Plaintiffs seek a judicial declaration or finding that the ALJ failed to consider relevant
evidence, misapplied the law, that her decision should not be given any deference and should

be overturned in its entirety.

SECOND CLAIM FOR RELIEF
LEGAL FEES

 

Plaintiffs incorporate by reference above paragraphs 1 through 110 of this Complaint.

Under 20 U.S.C. § 1415(i)(3)(B), this Court may award reasonable attorneys’ fees to a
prevailing party who is the parent of a student with a disability.

Plaintiffs seeks a finding by this Court that Plaintiffs are the prevailing party in this case. As
such, Plaintiffs are entitled to payment of their reasonable attorneys’ fees from the District for
the fees related to the underlying administrative hearing and this court claim.

Plaintiffs seek a finding that they are entitled to reimbursement of their reasonable legal fees

in an amount to determined by this Court.

PRAYER FOR RELIEF
Plaintiffs respectfully request the following relief:
That the Court overrule the ALJ’s Decision in its entirety;
That the Court order the District to convene an IEP team meeting and develop goals in all
areas of need.
That the Court order the District to clearly identify the assistive technology equipment,
software and devices Student requires in the IEP and the District be ordered to provide
Student with an embosser, talking compass, and talking watch.
That the Court order the District to provide Student with six hours per week of vision
services and one hour per week of orientation and mobility services, and clearly document the
services in the IEP.
That the Court order the District to provide Student with a structure social skills program

specifically tailored to meet his needs as a blind student.

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 12

 
 

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6. That the Court order the District to fund Student’s counsel’s attendance at all IEP team
meetings conducted during the 2012-2013 and the 2013-2014 school years.

7. That the Court order the District to provide Student with 14.25 hours of compensatory
education in the expanded core curriculum.

8. That the Court order the District to hire a qualified teacher of the visually impaired and a
trained one-to-one aide and District make a referral to the California School for the Blind for
onsite training of staff and development of Daily Activity Schedules.

9. That the Court order payment for all attorneys’ fees and costs in connection with this
complaint (the amount continues to accrue and is subject to proof following trial herein) and
the underlying administrative hearing.

10. For such other relief as this Court may deem just and proper.

Dated: February 22, 2013 RUDERMAN & KNOX, LLP

CHRISTIAN M. KNOX” —
Attorney for Plaintiff

Complaint Under Individuals With Disabilities Education Act (20 U.S.C. § 1400 et seq.) Page 13

 
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Exhibit 1
Case 2:13-cv-01452-DMG-MRW Document 3 Filed 03/04/13 Page 15o0f52 Page ID #:82

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Colleen A. Snyder ATTORNEYS AT LAW’ colleen@rudermanknox.com

Amber C. Lance amber @rudermanknox.com
VIA FACSIMILE

August 14, 2012

Office of Administrative Hearings
Special Education Division

2349 Gateways Oaks Drive, Suite 200
Sacramento, CA 95833-4231

Re: = Marquis Casson vy. Antelope Valley Union High School District;
Case No. Unassigned

To OAH:

Enclosed is Petitioner’s Special Education Due Process Complaint Notice against Antelope
Valley Union High School District.

Thank you for your assistance in this matter.

Sincerely,

    

 

 

Brett Patersen
Legal Assistant to
Christian M. Knox

Enclosure

Ce: Mirani Nichols (w/enclosure)
Johan Mekel (w/enclosure; via facsimile)

 

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Telephone: 916-563-0100
Facsimile: 916-563-0114

Attorney for Student
SPECIAL EDUCATION DUE PROCESS COMPLAINT NOTICE

20 U.S.C. § 1415 (b) (7) (A)

To the ANTELOPE VALLEY UNION HIGH SCHOOL DISTRICT:

This is to notify the District of a special education due process complaint,

Student: Marquis Casson

Date of Birth: October 5, 1997

Grade: Ninth grade

School: Eastside High School

Parent: Mirani Nichols

Address: 5703 Evergem Avenue
Palmdale, CA 93552

Phone: (661) 492-0041

 
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ISSUE NO. 1
(Denial of FAPE for the 2012-2013 School Year)

Nature of the Problem:

 

1, The Antelope Valley Union High School District (the District) failed to offer Marquis a

free appropriate public education (FAPE) during the 2012-2013 school year by:

a. failing to provide him with access to the expanded core curriculum;

b. failing to provide him with adequate services from a qualified teacher of the
visually impaired (TV]);

C, failing to offer him adequate orientation and mobility services;

d. failing to provide him with adequate training in Braille and Nemeth Code;

€, failing to provide him with measurable goals in all areas of need:

f. failing to provide a structured social skills program;
failing to provide an adequately trained one-to-one aide;

h. failing to provide adequate program supervision/training by a qualified
person/agency to work with the visually impaired;

i. failing to provide an adequate transition plan to the high school campus;
failing to provide a safety plan;

k, failing to provide adequate assistive technology; and

1. failing to provide an aide on the bus.

2. The District failed to adequately assess Marquis in the following areas:
a. hearing, including the need for deaf and hard of hearing services; and
b. physical therapy.

3, The District procedurally denied Marquis a FAPE during the 2012-2013 school year by:

a.

failing to document his assistive technology needs on his IEP.

 
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Fact Pertaining to the Problem:

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Marquis is fourteen years old and will be in the ninth grade for the 2012-2013 school
year. Marquis is eligible for special education services under the qualifying condition of
multiple disabilities and visual impairment. Marquis has been diagnosed with Norrie
Disease which has rendered him blind. In addition, Marquis has global developmental
delays. Marquis has deficits in speech and language, fine and gross motor skills, vision,
orientation and mobility, and all academic areas. Marquis also has significant deficits in

adaptive skills, Braille, and Nemeth code.

In May 2012, Marquis was assessed by Dr. Robert Patterson which was an independent
educational evaluation funded by the elementary school district. Dr. Patterson found that
Marquis had relative strength in oral vocabulary. However, Marquis had global deficits

in all other areas of functioning.

Dr. Patterson recommended that Marquis be taught chunking strategies and memory
strategies including mneumonics and re-auditorization which would be taught by the
school psychologist. Dr. Patterson also recommended that Marquis be provided with the
following accommodations: keeping oral directions short and simple, asking the student
to paraphrase the directions to ensure understanding, provide kinesthetic cues for the

steps to be followed, access to Recordings for the Blind, and an appropriate audio player.

Dr. Patterson also recommended that staff working with Marquis be provided with
instruction from a mobility trainer, occupational therapy, physical therapy, a social skills

group, and small group speech and language therapy.

In June 2012, Marquis was assessed by Sonja Biggs, a teacher of the visually impaired,
which was an independent educational evaluation funded by the elementary school

district.

 
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Ms. Biggs recommended that Marquis be provided with one hour per day of Braille
instruction, one hour per week of orientation and mobility services, and one hour per
week of TVI services to address independent living skills and access to the expanded core

curriculum.

In addition, Ms. Biggs recommended that Marquis receive Braille books, curriculum for
using JAWS, a laptop computer, screen reading software, a talking watch, a cellular
phone, abacus, talking calculator, Duxbury software, OCR software, scanner, embosser,

and printer.

Ms. Biggs also recommended that Marquis be provided with an aide trained in Braille
throughout his school day and that he receive textbooks and all instructional materials in
Braille and electronic format or audio format. Ms. Biggs also recommended that Marquis’
work should be interlined, that he should be taught organizational skills and daily
activities using Daily Activity Routines implemented at home and school, that he should
be given extended time, real objects/models for learning, accommodations for State
testing, a hearing evaluation with an audiolo gist and a Deaf and Hard of Hearing

Specialist, and a safety plan to address his needs during school emergencies/safety drills.

Ms. Biggs also recommended a referral to an agency such as California School for the

Blind for assistance in training and program oversight.

On August 2, 2012, the District convened an IEP team meeting. The District indicated
that Marquis did not require assistive technology or services. This is completely
inaccurate. As indicated above, Ms. Biggs made recommendations for numerous items of
assistive technology. Marquis’ mother has no way of knowing what Marquis will or will

not be provided from Ms. Biggs’ recommendations. Since the District failed to complete

 
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this information, it would appear that Marquis will not be provided with any assistive

technology.

The District failed to provide Marquis with the recommended level of orientation and

mobility training, Braille instruction, and TVI services.

The District failed to provide Marquis with a safety plan.

The District failed to provide Marquis with an adequately trained aide.

The District failed to provide Marquis with access to the expanded core curriculum and

failed to develop goals in this area.

The District failed to provide Marquis with physical therapy services or, in the

alternative, an assessment as recommended by Dr. Patterson.

The District failed to provide Marquis with a hearing assessment, including an

assessment by a Deaf and Hard of Hearing Specialist as recommended by Ms. Biggs,

The District failed to provide a referral to the California School for the Blind for training,

assessment and program supervision/implementation as recommended by Ms. Biggs.

It was also recommended by Ms. Biggs that Marquis receive orientation and mobility
services prior to the beginning of the school year as transition services from middle

school to high school. The District failed to provide Marquis with such services.

 
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Furthermore, the orientation and mobility and TV] services provided are not adequate

because they do not address the expanded core curriculum or Marquis’ access to the

community.

The District has failed to offer Marquis a social skills program as recommended by both

Dr. Patterson and Ms. Biggs.

The District failed to offer Marquis an aide on the school bus. Marquis requires an aide

to assist in getting on and off of the bus and in case of an emergency due to his disability.

Proposed Resolution to the Problem

Petitioner seeks declaratory relief that the District denied him a FAPE for the 2012-2013

schoo] year and failed to adequately assess him in al] area of suspected disability.

The District shall fund independent educational evaluations in the following areas:
a. physical therapy; and

b. hearing, including an assessment by a Deaf and Hard of Hearing Specialist.

Said assessments shall be conducted by individuals with knowledge and experience in

assessing children with multiple disabilities, including blindness.

The District shall convene an IEP team meeting to review the results of the assessment

and fund the independent assessors’ attendance at the IEP team meeting.

At the IEP team meeting the District shall develop goals in all areas of need, including the

expanded core curriculum.

 
 

 

 

 

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Dated: August 14, 2012 Ch icstrann MW kay (on)

The District shall convene an [EP meeting and provide Marquis with the services

recommended by Dr. Patterson and Ms. Biggs.

The District shall make a referral to the California School for the Blind for training,
supervision and program oversight for all staff, including the District’s TIV and

orientation and mobility specialist.

The District shall provide Marquis with a social skills program.

The District shall provide Marquis with all assistive technology recommended by Ms.

Biggs and shall document the assistive technology in his IEP.

The District shall provide Marquis with compensatory education in the form of
orientation and mobility therapy, Braille instruction, and TV] services, including access to

the expanded core curriculum.

The District will provide Marquis with an aide on the school bus,

The District shall provide Student with such other and further relief, which is unknown to
Petitioner at this time, as deemed appropriate by the administrative law judge at the

hearing on this matter.

Respectfully submitted,

Christian M. Knox, Attorney for Petitioner

 

 

 
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PROOF OF SERVICE

Case: Marquis Casson y. Antelope Valley Union High School District,
Case No. Unassigned

Tam over the age of eighteen years and not a party to the above action. My business address is
1300 National Drive, Suite 120, Sacramento, CA 95825.

On this date, I served a copy of the Special Education Due Process Complaint Notice on the
following person(s) via facsimile at the fax number(s) listed below:

Office of Administrative Hearings
Special Education Unit

2349 Gateway Oaks Drive, Suite 200
Sacramento, CA 95833-423]
Facsimile (916) 376-6319

Johan Mekel

Director of Special Education

Antelope Valley Union High School District
44811 North Sierra Highway

Lancaster, CA 93534

Facsimile (661) 949-3247

I declare under penalty of perjury under the laws of the State of California that the foregoing is

true and correct. Executed on August 14, 2012, at Sacramento, California.

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By:

 

<— (7 Brett Petersen

 

 
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Richard! Ruderman RUDERMAN & KNOX up chrstnerudemerknon conn
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Amber C. Lance
FAX COVER SHEET
To: a OAH Fax No. (916) 376-6319
O John Porter Fax No. (661) 537-6157
Q Julie Elliott Fax No. (661) 537-6157
OQ Howard Fulfrost Fax No. (323) 330-6311
CT Cindy Cottier Fax No. (626) 351-5402
OQ Bridget Cook Fax No. (661) 948-5096
0 Roger Gallizzi Fax No. (661) 273-5137
O Airionna Whitaker Fax No. (323) 330-6311
on Johan Mekel Fax No. (661) 949-3247
From: 0 F. Richard Ruderman O Connie Ajay
ow Christian Knox Oj Lindsey Mehler
O Colleen Snyder CO Wade Lucas
OQ Amanda Knox 0 Brett Petersen
Re: Marquis Casson vy. Antelope Valley Union High School District;
Case No. Unassigned
Date: 08/14/2012 No. of pages (including cover sheet): 10
Comments:

 

 

 

 

 

 

 

 

 

 

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return the original message to me by mail. Thank you.

 

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Case 2:13-cv-0145

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08/14/2012 14:31
Serial No. 57BE35241

Broadcast Report

 

 

 

 

 

 

 

 

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Note THR: Timer,

MIX: Mixed Original, CALL: Manual Communication,
BND: Bind, SP: Special Original, FCODE: F~Code,
BUL: Bulletin, SIP:SIP-Fax, IPADR:IP Address Fax,

Result

F. Richard Ruderman
Christian mM. Knox
Colleen A. Snyder
Arnber C. Lance

To:

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Re:

Date:

Comments:

DK: Communication OK, S-OK: Stop Communication,
TEL: RX from TEL, NG: Other Errer, Cont: Continu

Refuse: Receipt Refused, Busy: Busy,
LOVR: Receiving length Over, POVER: Receiving page Over,

DC: Decode Error, MDN:MDN Response Error,

POL: Poll, ORG: Original, IE: ame Erase TX,
CSRC: CSRC, FWD: Forward, PC: PC-FAX,

RTX: Re-Tx, RLY: Relay, MBX: Confidential,
I~FAX: Internet Fax

PW-OFF: Power Switch OFF,
e, No Ans: No Answer,

M-Full:Memory Full,
FIL: File Error,

DSN: DSN Response Error.

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ey _TOhan Mekel Fax No. (661) 9493~32747
ca FP. Richard Ruderman ca Connie Ageay
ca Christian Knos cc Lindsey Mehler
Cc Colleen Snyder ca Wade Iucas
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Exhibit 2
Case 2:13-cv-01452-DMG-MRW Document 3 Filed 03/04/13 Page 27 of 52 Page ID#:94

State of California * Department of General Services Jerry Brown, Governor

OFFICE OF ADMINISTRATIVE HEARINGS

 

General Jurisdiction Division:

 

   

Sacramento 2349 Gateway Oaks, Suite 200 Sacramenilo, Ca 95833 (916) 263-0550 (916) 263-0554 fax
Los Angeles 320 W. Fourth Street, 6" Floor. Suite 630 Los Angeles, Ca 90013 (213) 576-7200 (213) 576-7244 fax
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Special Education Division:

Sacramento 2349 Gateway Quks, Suite 200 Sacramento, Ca 95833 (916) 263-0880 (916) 376-6319 fax
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Laguna Hills 23046 Avenida De La Carlota, Suite 750 Laguna Hills, Ca 92653 (945) 598-5850 (916) 376-6319 fax

 

FAX TRANSMITTAL INFORMATION PAGE

Date: 11/27/12 Time: 3:05 pm

TO: Christian Knox
Fax number: 563-0114

From: Dean, Tim@DGS
Subject: {Matter No.[2012080375]}{CASSON, MARQUIS}

Number of pages: 23

Attached please find the courtesy copy of the Decision issued on 11/27/2012 in the
matter of Marquis Casson v. Antelope Valley Union High School District.

Tim Dean

Decision Typist/Calendar Clerk

Office of Administrative Hearings
Phone. (916)263-0653

Fax: (916)263-0554

Special Education Fax:(916)376-6319
E-mail: Tim Dean@dgs.ca.gov

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Case 2:13-cv-01452-DMG-MRW_ Document 3 Filed 03/04/13 Page 28 of 52 Page ID#:95

BEFORE THE
OFFICE OF ADMINISTRATIVE HEARINGS
STATE OF CALIFORNIA
In the Matter of:
PARENT ON BEHALF OF STUDEN T, OAH CASE NO. 2012080375

Vv.

ANTELOPE VALLEY UNION HIGH
SCHOOL DISTRICT.

 

 

DECISION

Administrative Law Judge (ALJ) Adrienne L. Krikorian, Office of Administrative
Hearings (OAH), State of California, heard this matter on October 9, 24, and 25, 2012 in
Lancaster, California.

Attorney Christian Knox represented Student. Student’s mother (Mother) attended all
days of hearing and testified. Attorney Bridge Cook represented Antelope Valley Union
High School District (District). Special Education Director Johan Mekel (Mr. Mekel) was
also present on all days of hearing and testified on District’s behalf.

On August 14, 2012, Student filed a request for due process hearing. On the first day
of hearing, upon joint request of the parties, the AL] granted a continuance of the remaining
days of hearing for good cause until October 24,2012. At the hearing, the ALJ received
sworn testimony and documentary evidence. At the request of the parties, the ALJ further
continued the hearing to November 15, 2012 to allow the parties time to file closing briefs.
Student timely submitted his closing brief and District filed its brief one day late’. The
record closed on November 16, 2012.

 

} On November 16, 2012, Student filed a Motion to Strike District’s closing
brief on the ground that it was filed one day late. District filed a reply to Student’s motion on
November 19, 2012. District mistakenly understood that the due date for briefs was
November 16, 2012 instead of November 15, 2012. Although Student argued that District
had one day to read Student’s brief before filing its own closing brief, Student demonstrated
no real prejudice caused by the District’s late-filed brief. Accordingly, the Motion to Strike
is denied. Both briefs were considered by the ALI.
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ISSUES?

1, Did District deny Student a free appropriate public education (FAPE) for the
2012-2013 school year by failing to offer and provide Student appropriate related services to
address all of Student’s unique needs, including a qualified teacher for the visually impaired
(T'VI); an adequately trained one-to-one aide; supervision/training by a person/agency
qualified to work with the visually impaired; appropriate orientation and mobility (O&M)
services; training in braille and Nemeth Code; access to the expanded core curriculum: a
structured social skills program: and a transition plan to Student’s high school campus?

2, Did District deny Student a FAPE during the 2012-2013 school year by failing
to include measurable goals in all areas of need in Student’s August 2, 2012 individualized
education program (IEP)?

3. Did District deny Student a FAPE during the 2012-2013 school year by failing
to document Student’s needs for assistive technology (AT) and by failing to offer Student AT
in his August 2, 2012 IEP?

FACTUAL FINDINGS

1. Student is 15 years old and lives with Mother within District boundaries.
Student resides within the Antelope Valley Special Education Local Plan Area (SELPA),
which includes District and Palmdale Elementary School District (Palmdale), where he
attended Desert Willow School during the 2011-2012 school year. He currently attends the
ninth grade at District’s Eastside High School ( Eastside). Student suffers from Norrie’s
Disease, the effects of which include total blindness. Student is eligible for special education

 

2 At the beginning of the hearing, the parties agreed to the issues set forth in this
Decision. Student expressly withdrew the following issues identified in the PHC Order:
whether District denied Student a FAPE by failing to offer an aide on the bus; whether
District denied Student a FAPE by failing to offer Student a safety plan; and whether District
failed to appropriately assess Student in the areas of hearing, including the need for deaf and
hard of hearing services, and physical therapy. In Student’s closing brief, Student asserted
that Mother was denied the opportunity to meaningfully participate in Student’s educational
program because the August 2, 2012 IEP did not accurately reflect what related services
Student was to receive, and because District did not accurately report to Mother after the
school year started what services and at what frequency Student received services. However,
issues raised for the first time in the closing brief will not be considered in this Decision
because a party requesting a due process hearing shall not be allowed to raise issues at the
due process hearing that were not raised in the due process complaint unless the other party
agrees otherwise. (20 U.S.C. § 1415(£)(3)(B).)
Case 2:13-cv-01452-DMG-MRW Document 3 Filed 03/04/13 Page 30 0f 52 Page ID#:97

under the eligibility categories of multiple disabilities and visual impairment. He reads and
writes with the use of a braille writer and other technology.

Background — December 6, 2011 IEP through June 2012

2. On December 6, 2011, Palmdale convened an IEP team meeting at which two
District representatives, Kathryn Taylor (Ms. Taylor) and Cheryl Davis, were present for the
entire meeting. The Palmdale IEP team did not complete an annual or high school transition
TEP for Student. Student underwent two independent educational assessments during the
spring of 2012. As part of a due process final settlement agreement (FSA) dated June 21,
2012, between Mother and Palmdale, Palmdale agreed to fund, among other services, 180
hours of compensatory TVI services to be delivered at the rate of one hour a week in the high
school setting and three and one half hours a week in the home setting through the 2013
extended school year, and training for the TVI and Student’s high school paraeducator at the
Children’s Learning Center (CLC) in Tustin, California.

June 2012 Independent Assessments

3, Robert Patterson, Psy.D (Dr. Patterson) testified as to Student’s
psychoeducational needs. Dr. Patterson assessed Student on May 10, 2012. Dr. Patterson is
a licensed psychologist, marriage, family and child counselor, and educational psychologist.
He received his doctorate in psychology in 1988. His work experience includes private
counseling, and public school work as a teacher, psychologist and administrator. He
currently serves on the parent advisory committee of the Blind Children’s Learning Center in
Tustin, California, and has had experience in assessing students with visual imparities. Dr.
Patterson’s assessment included a battery of assessment instruments, including standardized
tests, classroom observations, and parent and teacher interviews. Dr. Patterson demonstrated
that he was qualified to testify as to Student’s academic and psychological needs as they
existed at the time of his assessments.

4, Dr. Patterson concluded in his written report dated June 20, 2012, that Student
performed significantly below average cognitively. Student also had difficulty with fine
motor tasks, his ability to process what he heard was in the mild range of significant delay,
he had significant strength in phonemic awareness, was in the mid-average range for sound
blending, and was in the low average range for auditory closure on incomplete words. His
attention capacity was significantly below average. He showed no significant hyperactivity
or attention problems, and his executive processing was in the lower portion of the average
range. Student was not able to complete the working memory task, demonstrating a
weakness in short-term memory and working memory. His adaptive behavior was
significantly delayed, and significantly below the first percentile. Student did not show any
outstanding externalized behaviors, internalized behaviors, or adaptive behavioral deficits.
He had some difficulty accessing appropriate skill sets, and his difficulty in
neuropsychological processing and sensory motor processing impacted his learning. Student
had a relative strength with phonemic awareness but not oral comprehension or retention of
stories. Language was difficult for him to master, He had difficulty problem solving and
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with sequencing of material, particularly things that involved sequencing of sensory motor
actions. His social emotional functioning appeared to be an area of relative strength, but he
did not appear, during observations, to have good friendships or relate to peers on a personal
level.

5, Dr. Patterson recommended strategies to assist with Student’s working
memory, including using chunking strategies: mnemonics and “re-auditorization”; keeping
oral directions short and simple; asking Student to paraphrase directions to ensure
understanding; providing kinesthetic cues for steps to be followed and task specific
instructions. He also recommended registering Student for Recording for the Blind in order
to reduce the time District would need to provide a braille instructor, more specific
instruction from the mobility instructor geared toward Student’s independent mobility skills;
adding consultation in occupational therapy (OT) and physical therapy; school OT staff
meetings with the Los Angeles County Regional Center provider regarding home services in
functional skill development; shifting focus in school counseling to social skills, working in
small groups to develop the language of social skills and reciprocal communication; and that
the speech and language specialist consider small group work specific for social skills
training to help him acquire skills to be more interactive with peers.

6. Dr. Patterson did not observe Student at any District high school, and he had
no knowledge of what services and supports were available to Student at Eastside. His
conclusions and recommendations were based solely on his observations and testing at
Palmdale, and interviews with Mother, teachers, and service providers at Palmdale.

7. Sonja Biggs also testified to Student’s needs. Ms. Biggs is completing her
Ph.D. in Education. She has a master’s degree in school counseling, and holds a California
credential in multiple subjects. She is a certified O&M specialist and is pending certification
as a specialist in visual impairments. She has taught visually impaired students since 2003.
She is familiar with and teaches all components of the Expanded Core Curriculum (ECC), a
supplemental curriculum for the visually impaired consisting of nine specific skill areas,
which 1s incorporated into the California Department of Education 1997 Revised Edition of
the Program Guidelines for Students Who Are Visually Impaired. The nine components are:
compensatory skills, O&M, social interaction skills, independent living skills and personal
management, recreation and leisure, career and vocational education, assistive technology,
visual efficiency skills and self-determination (self-advocacy), Ms. Biggs demonstrated that
she was qualified to testify as to Student’s unique needs as a visually impaired student.

8. Ms. Biggs assessed Student on June 13-16, 2012, while Student was at Desert
Willow School. She recorded her findings and recommendations in a written report, In
writing her report, she had in mind that Student would be transitioning to high school in the
2012-2013 school year. She conducted a functional vision assessment (FVA) in which she
concluded that Student had no vision and therefore she could not test other aspects of
Student’s vision functions. She observed Student during the FVA and concluded that
Student's sensory modality most used was his tactual system, with auditory being secondary,
Student was a braille reader for literacy and Nemeth braille for mathematics. He could read
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_ third grade material at an instructional level when it was presented in braille. He had some
difficulty in tracking, which required additional instruction to help him overcome his
difficulty. Student used a manual braille writer for written work. He scored 17/20 ona
spelling test using the braille writer. He had the capacity to learn how to use technology for
the blind. He relied totally on auditory input for anything audiovisual, such as a movie or
video. Student demonstrated adequate cane skills, although, based upon observations during
Student’s work with Mr. Lund, Ms. Biggs recommended that Student should use a longer
cane. Student had some difficulty with special skills, such as using a mental map for
orientation. He was confused with time and distance and did not know when he had walked
beyond his target destination. He had body awareness, but did not initiate trips to the
restroom at school, in contrast to home. He had not yet been taught residential travel, such as
traveling from the home front door to the mailbox and back. He had no experience with
street intersections. He had little opportunity for developing social skills at school. He was
talented at playing piano and had made remarkable progress from when he first started
playing in December 2011.

9, During the hearing, Ms. Biggs offered the opinion that Student's TVI provider,
Kristen Knitter (Ms. Knitter), had been doing a “remarkable job” teaching Student braille.

10. Ms. Biggs recommended that Student receive consultative and direct services
from a TVI five days a week for 60 minutes a day to teach braille skills, typing skills, and
technology skills for the visually impaired; a variety of AT including a laptop equipped with
“NVDA” open source screen reader software, Duxbury braille translation, and optical
character recognition (OCR) software; a scanner, braille embosser and printer; an abacus; a
talking watch; a tactile map of the campus; O&M services once a week for 60 minutes;
instruction by a TVI or other qualified instructor in independent living skills for 60 minutes a
week separate from braille instruction; and an instructional aide trained in braille for the
entire school day. She also recommended that Student receive all assignments, textbooks,
handouts, and other written materials in braille, electronic or audio format; that he be taught
organizational skills to help him keep track of his materials and assignments; that he be
taught how to do activities using daily activity routines at home and school; that he learn
concepts using real objects or models; that he be provided extended time for completing
assignments; special accommodations for state tests and classroom tests; a hearing evaluation
by a Deaf and Hard of Hearing Specialist and audiologist; and a safety plan for use during
emergency drills. She also recommended that Student receive instruction in the ECC.

Il. Ms. Biggs did not observe Student at any District high school, and she had no
knowledge at the time of her assessment as to what services and supports were available to
Student at Eastside. Her conclusions and recommendations were based solely on her
observations and testing at Desert Willow School, and interviews and email correspondence
with Student's teachers and service providers at Desert Willow.
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August 2, 2012 IEP and related amendments

12. Paul Lund (Mr. Lund) testified regarding Student’s needs in O&M. Mr. Lund
taught Student O&M for approximately four years and at the time of hearing was his O&M
teacher in the District. Mr. Lund received a master of arts in special education/orientation
and mobility in 1992. He is credentialed and certified in California as a teacher and
specialist in O&M. He has been a teacher of O&M for visually impaired students since
1992, and is a member of numerous organizations related to support and education of the
blind and visually impaired. Mr. Lund demonstrated that he was qualified to testify as to
Student’s unique needs in relation to O&M.

13. Ms. Knitter is a credentialed special education specialist for instruction in
visual impairment and blindness. She received her master’s degree in the area of special
education in 2009 and has worked for Junior Blind of America. She has been teaching
visually impaired students for Lancaster School District since 201 1, and was Student’s TVI
in the 2011-2012 school year. Ms. Knitter provides TVI services to schools within the
SELPA via a contract with Lancaster School District. Ms. Knitter’s job duties include
teaching compensatory skills such as braille, assistive technology, organizational,
independent living, and social skills. She routinely networks with other TVIs, attends
conferences and continuing education seminars in her field, and has been affiliated with the
California Transcribers and Educators for the Blind and Visually Impaired for two years,
She received training at CLC in early fall of 2012 pursuant to the FSA. Ms. Knitter
demonstrated that she was qualified to testify as to Student’s unique needs in relation to TVI
Services.

14. Mr. Mekel has a bachelor and master degree in business and special education.
He holds credentials in business, special education and administration. He has worked for
District since 1997, as a special education teacher, teacher on special assignment, program
specialist and, for the past three years, director of special education. He demonstrated that he
was qualified to testify as to policies and procedures that District follows regarding special
education students who transition to the District from another District.

15. | When a special education student transitions to the District without a
completed IEP, the District will schedule an IEP meeting within 30 days after the start of
school. District holds IEPs only for students who have enrolled in the District. Until it holds
a transitional IEP or during the first 30 days, District bases a student’s educational program,
including goals and objectives, on the student’s last agreed upon IEP.

16. In Student's case, during July 2012, in preparation for Student’s high school
enrollment, Mother and Student, accompanied by District representatives, visited several
high schools within the District and chose to enroll Student at Eastside. District convened an
IEP meeting August 2, 2012, before school started on August 13, 2012, in order to prepare
staff to receive Student because District did not receive a signed high school transition IEP
from Palmdale.
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17. Most District staff attended the meeting while on their summer break. Ms.
Knitter attended and stayed for the entire meeting. Mr. Lund attended by telephone for
approximately 10 to 15 minutes. Also attending were an adaptive physical education (APE)
teacher, speech pathologist, school psychologist, general education teacher, special education
teacher, school vice principal, program specialist Charae Anderson (Ms. Anderson), program
specialist Kathleen Astorian (Ms. Astorian), Dr. Patterson, Ms. Biggs (by telephone),
Mother, a representative of her attorney, and District’s attorney Ms. Cook. Ms. Astorian
facilitated the IEP meeting and co-scribed the IEP document on the web-based Special
Education Information System (SEIS) with program specialist Ms. Anderson.

18. The IEP team meeting lasted six to seven hours. Ms. Astorian presented the
continuum of placement and services available to Student, including the Center for the Junior
Blind. The IEP team agreed that based upon Student’s ambulation and safety needs, Eastside
was the most appropriate and least restrictive environment to service Student’s needs
including his goals and objectives for functional academics and O&M. Dr. Patterson and
Ms. Biggs presented their reports and recommendations, which the IEP team discussed. The
IEP team agreed that an audiology exam, as recommended by Ms. Biggs, was appropriate.

19. The IEP team reviewed Student’s present levels of performance (PLOPs) in
academic achievement and functional performance. In the area of social emotional/behavior,
the IEP team reported that Student got along with his peers, he showed kindness and
compassion towards them, he followed all school rules and adult directions, he behaved on
the bus and on the playground, he followed step by step directions, enjoyed going into the
community, could feed himself and was loved by the staff at Palmdale. Mr. Lund discussed
Student’s PLOPs in O&M, and addressed safety concerns while ambulating on campus. The
IEP team acknowledged that the paraeducator assigned full-time to Student would require
training in working with the visually impaired. The IEP team discussed the issue of the
length of Student’s cane, and agreed with Ms. Biggs’ recommendation that Student needed a
longer cane. The IEP team also acknowledged that District had other staff working with
visually impaired students in the District who had received training and support as
appropriate for each student’s needs. The IEP team also acknowledged that Student was due
for an annual IEP by December 2012, and that, as Student acclimated to high school, the case
manager would begin to develop new goals and activities for development of a transition
plan in time for the annual review.

20. Although Student met some of his goals from the December 12, 2011 IEP, the
IEP team agreed that Student’s goals and objectives from his December 12, 2011 IEP were
relevant and appropriate for District staff to implement and evaluate Student’s PLOPs in
preparation for the December 2012 annual review or within 90 days after Student began high
school. Ms. Biggs recommended that Student should have goals in daily living skills,
literary braille, Nemeth braille, O&M, social skills and vocational transitional skills. Dr.
Patterson recommended three O&M goals in conjunction with Mr. Lund that were
incorporated into the IEP. The August 2, 2012 IEP included 20 goals in math, braille,
writing, language arts, adaptive living skills, pragmatic language, O&M, social emotional,
object control, and gross motor. Ms. Knitter wanted to continue working on Student’s
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December 2011 goals in the high school environment to better determine his needs,
notwithstanding that Student had met some of those goals in middle school. Ms. Biggs and
Dr. Patterson agreed that District staff needed time to get to know and informally evaluate
Student in the high school environment in order to develop appropriate goals and objectives
and re-evaluate services.

21. Mother expressed concern that District staff working with Student should be
skilled in working with students with visual impairments and about the amount of O&M
services Student would receive.

22. The IEP team offered Student placement at Eastside within the special day
class-prevocational life skill setting for five 50-minute periods a day, and one period of
mainstreaming in a general education elective such as music. District also offered: APE 30
minutes six times a week for a total of 180 minutes weekly; language and speech 30 minutes
four times a month for a total of 120 minutes monthly; O&M 30 minutes weekly; TVI eight
30 minute sessions for a total of 240 minutes a month: OT 30 minutes weekly; a special
circumstance paraeducator (SCP) for 100 percent of the school day: counseling and guidance
20 minutes twice a week; and extended school year. Page four of 41 of the IEP stated that
Student did not require assistive technology. However, the next section stated that Student
required low incidence services, equipment and/or materials to meet his educational goals. It
also specified that Student required equipment and training which will assist in improving
functional mobility skills, training to assist with braille and software for the visually
impaired, technology and other educational materials for the visually impaired and blind, and
print materials converted to braille. The IEP team printed the final version of the IEP and
presented it to Mother, who signed it authorizing implementation of services, but disagreed
that it offered a FAPE.

23. At the time of Student’s August 2, 2012 IEP meeting, the SEIS program
developers were implementing software updates that created system errors that were
unknown to District. As a result, the printed IEP document generated on August 2, 2012,
contained clerical errors that were discovered after the IEP team meeting concluded? The
first error resulted in the checkbox for AT services being checked “no” instead of “yes.” The
second error was a misstatement of the number and frequency of services for TVI. Although
the August 2 version of the IEP reflected eight 30-minute sessions of TVI or 240 minutes a
month, Ms. Knitter understood and believed that the IEP team offered one hour a day, five
days a week, for a total of 300 minutes a week, throughout the school year, consistent with
Ms. Biggs’ recommendations.

 

3 The evidence established that the August 2, 2012 offer of APE was
erroneously recorded as 180 minutes weekly instead of 180 minutes monthly. The
September 17, 2012 IEP amendment, discussed below, corrected the APE services to reflect
30 minutes, six times, for a total of 180 minutes a month. Student did not raise this error as
an issue nor request that the AL] make findings of fact and conclusions of law as to whether
it resulted in a denial of FAPE, and therefore it was not considered by the ALJ in the analysis
below.
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24. Ms. Knitter and Mr. Lund also understood and expected that District would
provide Student with numerous AT devices, including a longer cane, a classroom desktop
computer with braille overlays for the keyboard, a laptop computer with NVDA and
Duxbury software, a USB memory stick for transport of work from home to school, a
Bookport, a braille writer, Eye Pal Solo oral reader, a Nemeth decoder for work with
numbers and mathematics, and a talking calculator.

25. Ms. Knitter notified Ms. Astorian shortly after the IEP team meeting that the
IEP document had errors. Ms. Astorian thereafter notified Student’s case carrier at Eastside,
Ms. Taylor. Ms. Taylor confirmed with Ms. Knitter that at the IEP meeting District had
offered one hour a day five days a week of TVI services and AT services. Ms. Taylor also
reviewed the rest of the IEP to determine whether any other clerical errors had been made.
District generated two amendments to the IEP. The first amendment dated August 24, 2012,
corrected the checkbox for AT services from “no” to “yes,” but it did not specify what AT
would be provided to Student. Mother signed the first amendment at District offices but did
not agree that the AT services were a FAPE.

26. Ms. Taylor completed the second amendment on or about September 17, 2012.
The September 17, 2012 Amendments Page stated that “Student would benefit from
Specialized Vision Services 240 minutes weekly” and she modified the FAPE Offer of
Services page to reflect 240 minutes weekly. She discovered after she placed it in the
District outgoing mailbox addressed to Student’s mother that she erred in listing TVI
services as eight 30 minute sessions for a total of 240 minutes weekly instead of five one
hour sessions for a total of 300 minutes weekly. Mother first saw the second amendment on
the first day of the due process hearing: she signed and returned the amendment to District
consenting to implementation. She did not agree that the IEP as amended offered a FAPE.

Student's Educational Program A fier the August 2, 2012 IEP

27. District assigned paraeducator Daniel Sanchez to Student full-time from the
first day of school on August 13, 2012. Mr. Sanchez has been a paraeducator with District
for six years. He has received training from District on working with students with health
issues, including addressing seizures, CPR, first aid and emergency evacuations, and, at the
time of the hearing he had attended two training sessions at CLC. Mr. Sanchez was not
fluent in braille at the beginning of school but Ms. Knitter began training him in braille and
on the use of Student’s AT devices shortly after the first day of the 2012-2013 school year.
Ms. Knitter reviewed and corrected his translations of Student’s assignments into braille
before they were delivered to Student’s teacher. Mr. Sanchez received consultation from Ms.
Knitter and Mr. Lund each time they worked with Student. He remained with Student full
time during the school day except for a 30-minute lunch break, when another District staff
member covered for him. Mr. Sanchez maintained a Buddy Book for Student that traveled
with Student in his backpack. He recorded, in the Buddy Book, which services and activities
Student received and engaged in daily so Mother could be informed of his daily routine.
Student participated in classroom activities, including “watching” video movies using a
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headphone for sound. Student had a safety plan that Mr. Sanchez was familiar with, and
Student successfully participated in a campus fire drill with adult assistance.

28. Mr. Lund worked with Student and Mr. Sanchez on the first day of school. He
provided more than 30 minutes weekly of O&M to Student from the second week of school.
Mr. Lund often spent additional time during his visits consulting with Mr. Sanchez and Ms.
Gonzalez. Mr. Lund determined that he would continue to provide additional services until
he was confident that Student had acclimated to his new school environment and that Mr.
Sanchez was sufficiently trained to work with Student in O&M during the school day.

29. Ms. Knitter provided Student with one hour of school-based VI services daily
from the end of the first week of school, in addition to the TV] services called for in the FSA.
Ms. Knitter kept separate logs of her IEP services and the FSA TVI services. She worked
with a District AT provider on the first day of school to insure that the AT devices Student
required were available or ordered for Student. As part of her instruction and consultation
with Ms. Gonzalez and Mr. Sanchez, Ms. Knitter implemented the nine components of the
ECC as she deemed appropriate for Student at that time. She worked with Mr. Sanchez
regularly to teach him braille, and regularly ensured that Student’s assignments were
translated into braille utilizing resources readily available to Eastside.

30. Martha Gonzalez (Ms. Gonzalez) has been employed by District as a special
education teacher for students with moderate/severe disabilities in a prevocational setting
since 2011. Student was assigned to her from the first day of the 2012-2013 school year.
Ms. Gonzalez is a California credentialed special education teacher currently working on a
master’s degree in special education. She worked as a special assistant for students with
moderate/severe disabilities for four years before coming to District in 2006, where she
worked as a paraeducator until 2011. Mr. Lund and Ms. Knitter have trained Ms. Gonzalez
on a consultative basis in O&M and on the AT devices Student used. She does not read
braille or Nemeth Code. She has provided approximately 50 percent of Student’s worksheets
in braille; he completed other assignments using his computer. Student turned his
assignments in using braille format within the week they are assigned. Student worked in
pairs during math, played braille Bingo with survival words, paired with another student
during English, and was exposed to typical peers during his music class, snack and
lunchtime. His conversational exchanges were limited. Ms. Gonzalez began maintaining
daily service logs to keep track of Student’s services beginning on August 30,2012. Student
missed part of the academic lessons working on his goals when any of the five service
providers pulled him out of class for services. As part of Student’s curriculum, Ms.
Gonzalez worked with Student on various components of the ECC, including self-advocacy,
vocational skills, social skills, hygiene, sitting in a restaurant, bullying, and getting along
with other students. Student participated in one community-based instruction activity at a
local bowling alley, during which Mr. Sanchez, Mr. Lund, and Ms. Knitter accompanied
him.

31. Following the August 2, 2012 IEP, and in preparation for Student’s annual IEP
in December, Mr. Mekel contacted the California School for the Blind (CSB) to investigate

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what services, assessments and supports, including staff training, were available to Student
through CSB. District filled all AT requests for Student from Student’s teachers or
providers, including a longer cane, by the beginning of October 2012.

LEGAL CONCLUSIONS

l. As the petitioning party, Student has the burden of proof on all issues.
(Schaffer v. Weast (2005) 546 U.S. 49, 56-62 [126 $.Ct. 528. 163 L-Ed.2d 387].)

Issue One: Appropriate Related Services and H igh School Transition Plan.

2. Student contends that District failed to offer the following related services in
the August 2, 2012 IEP: a) a qualified teacher for the visually impaired (TVI); b) a one-to-
one aide; ¢) supervision/training by a person/agency qualified to work with the visual
impaired; d) orientation and mobility services; e) training in braille and Nemeth Code; f)
access to the expanded core curriculum; g) a structured social skills program, and h)a
transition plan to Student’s high school campus. District contends the August 2, 2012 IEP
offered Student a FAPE with regard to related services and supervision.

Applicable Law

3. A child with a disability has the right to a FAPE under the Individuals with
Disability Education Act (IDEA). (20 U.S.C. § 1412(a)(1 (A); Ed. Code, §§ 56000, 56026.)
FAPE means special education and related services that are available to the student at no cost
to the parent or guardian, that meet the state educational standards, and that conform to the
student's IEP. (20 U.S.C. § 1401(9); Ed. Code, § 56031; Cal. Code Regs., tit. 5, § 3001,
subd. (0).) The term “related services” (in California, “designated instruction and services”),
includes transportation and other developmental, corrective, and supportive services as may
be required to assist a child to benefit from education. (20 U.S.C. § 1401(26); Ed. Code, §
56363, subd. (a).)

4, At the beginning of each school year, each local educational agency (LEA)
must have an IEP in effect for each child with a disability within its jurisdiction. (34 C.F.R.
§ 300.323(a)(2006)*; Ed. Code, § 56344(c).) The IEP consists of a detailed written statement
that must be developed, reviewed, and revised for each child with a disability. (Honig v. Doe
(1988) 484 U.S. 305, 311 [108 S.Ct. 592, 98 L.Ed2d 686]; 20 U.S.C. §§ 1401 (14), 1414
(d)(1 (A); Ed. Code, §§ 56032, 56345.) Each school district is required to initiate and
conduct meetings for the purpose of developing, reviewing, and revising the IEP of each
individual with exceptional needs, (Ed. Code, § 56340.)

 

4 All subsequent references to the Code of Federal Regulations are to the 2006

edition.

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5. In Board of Education of the Hendrick Hudson Central § chool District, et al.
v. Rowley (1982) 458 U.S. 176, 201 [102 S.Ct. 3034, 73 L.Ed.2d 690] (Rowley), the Supreme
Court held that “the ‘basic floor of opportunity’ provided by the [IDEA] consists of access to
specialized instruction and related services which are individually designed to‘provide
educational benefit to” a child with special needs. Rowley expressly rejected an |
interpretation of the IDEA that would require a school district to “maximize the potential” of
each special needs child “commensurate with the opportunity provided” to typically
developing peers. (/d. at p. 200.) Instead, Rowley interpreted the FAPE requirement of the
IDEA as being met when a child receives access to an education that is reasonably calculated
to “confer some educational benefit” upon the child. (/d. at pp. 200, 203-204, 207: Park v.
Anaheim Union High School Dist. (9th Cir. 2006) 464 F.3d 1025, 1031.)

6. In resolving the question of whether a school district has offered a FAPE, the
focus is on the adequacy of the school district’s proposed program. (See Gregory K. v.
Longview School District (9th Cir. 1987) 811 F.2d 1307, 1314.) A school district is not
required to place a student in a program preferred by a parent, even if that program will result
in greater educational benefit to the student. ([bid.) For a school district's offer of special
education services to a disabled pupil to constitute a FAPE under the IDEA, a school
district's offer of educational services and/or placement must be designed to meet the
student’s unique needs, comport with the student’s IEP, and be reasonably calculated to
provide the pupil with some educational benefit in the least restrictive environment. (bid)
Whether a student was denied a FAPE is determined by looking to what was reasonable at
the time, not in hindsight. (Adams v. State of Oregon (9th Cir. 1999) 195 F.3d 1141, 1149,
citing Fuhrman v. East Hanover Bd of Education (3d Cir. 1993) 993 F.2d 1031, 1041.)

7, As long as a school district provides an appropriate education, methodology is
left up to the district’s discretion. (Rowley, supra, 458 U.S. at p. 209; Roland M. v. Concord
Sch, Committee (1st Cir. 1990) 910 F.2d 983, 992 (ctting Rowley, 458 US. at p. 202).)

8. In the case of a student who is blind or visually impaired, the IEP team shall
provide for braille instruction and the use of braille unless it determines after an assessment
of the student’s needs that instruction or the use of braille is not appropriate for the student.
(Ed. Code § 56341.1, subd. (a)(3).) A school district shall provide opportunities for braille
instruction for pupils who, due to a prognosis of visual deterioration, may be expected to
have a need for braille as a reading medium. (Ed. Code, § 56351] .) A school district may
provide braille instruction using a braille instructional aide who js fluent in reading and
writing grade two braille and possesses basic knowledge of the rules of braille construction,
(Ed. Code § 56351.5, subd. (a).) A teacher who holds an appropriate credential to teach
pupils who are functionally blind or visually impaired shall provide braille instruction. (Ed.
Code § 56352, subd. (d).) |

9. A failure to implement an IEP may deny a child a free appropriate public
education and thereby give rise to a claim under the IDEA. (Van Duyn vs. Baker Sch. Dist.
oJ (9th Cir. 2007) 502 F.3d 811, 821.) Minor implementation failures are not actionable
given that "special education and related services" need only be provided "in conformity

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with" the IEP. A school district is not statutorily required to maintain perfect adherence to
the IEP, nor do minor implementation failures rise to the level of a denials of a FAPE. (Ibid )
A failure is material “when there is more than a minor discrepancy between the service a
school provides to a disabled child and the service required by the child’s IEP.” Ud. at p.
822.)

10. An IEP must include a statement of the special education and related services,
based on peer-reviewed research to the extent practicable that will be provided to the student.
(20 U.S.C. § 1414(d)\(1(A)G)IV); 34 CER. § 300.320(a)(4); Ed. Code, § 56345, subd.
(a)(4).) The IEP must include: a projected start date for services and modifications; and, the
anticipated frequency, location and duration of services and modifications. (20 U.S.C. §
14l4(d)1(A)G)(VID); 34 C.F.R. § 300.320(a)(7); Ed. Code, § 56345, subd. (a)(7).) Only the
information set forth in title 20 United States Code section 1414(d)(1)(A)() must be included
in the IEP and the required information need only be set forth once. (20US.C. §
1414(d)(1)(A)Gi); 34 C.F.R. § 300.320(d); Ed. Code, § 56345, subds. (h) & (i).)

11. An IEP team is required to include: one or both of the student’s parents or
their representative; a regular education teacher if a student is, or may be, participating in
regular education; a special education teacher; a representative of the school district who is
qualified to provide or supervise specially designed instruction, is knowledgeable about the
general education curriculum and is knowledgeable about available resources; a person who
can interpret the instructional implications of assessments results; at the discretion of the
parties, other individuals; and when appropriate, the person with exceptional needs. (34
C.F.R. § 300.321(a); Ed. Code, §§ 56341, subd. (b), 56342.5 [parents must be part of any
group that makes placement decisions].)

12. The parents of a child with a disability must be afforded an opportunity to
participate in meetings with respect to the identification, evaluation, and educational
placement of the child; and the provision of FAPE to the child. (34 CFR. § 300.501(a)
(2006), Ed. Code, § 56500.4.) A parent has meaningfully participated in the development of
an IEP when he or she is informed of the child’s problems, attends the IEP meeting,
expresses disagreement regarding the IEP team’s conclusions, and requests revisions in the
TEP. (V.L. v. Knox County Schools (6th Cir. 2003) 315 F.3d 688, 693: Fuhrmann v, East
Hanover Bd. of Education, supra,993 F.2d 1031, 1036 [parent who has an opportunity to
discuss a proposed IEP and whose concerns are considered by the IEP team has participated
in the IEP process in a meaningful way].)

13. A denial of FAPE may only be shown if procedural violations under the IDEA
impeded the child’s right to FAPE, significantly impeded the parents’ opportunity to
participate in the decision-making process regarding the provision of FAPE, or caused a
deprivation of educational benefits. (Ed. Code, § 56505, subd, (£)(2): see also W.G. v. Bd of
Trustees of Target Range School Dist. No. 23 (9th Cir. 1992) 960 F.2d 1479, 1484.)
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Analysis of Issue One

14, First, Student did not meet his burden of establishing that District denied him a
FAPE by failing to provide a qualified TVL As discussed above, District must provide a
teacher who holds the appropriate credential to teach students who are visually impaired,
The evidence established that District offered TVI services in the August 2, 2012 IEP, and
implemented the IEP by assigning Ms. Knitter to provide those services. Student argued in
his closing brief that Ms. Knitter was not qualified and did not have enough experience to
deliver TVI services, including braille instruction, to Student. However, Ms. Knitter’s
testimony credibly established that she had the education, credentials, training and
experience, including with Student, necessary to provide Student with TVI services based
upon his unique needs. Ms. Biggs testified that Ms. Knitter had done a “remarkable” job
teaching Student braille during the 2011-2012 school year, which refuted Student’s argument
that Ms. Knitter was not qualified to teach Student braille. Ms. Biggs offered no persuasive
testimony that criticized Ms. Knitter’s qualifications or her delivery of TVI services to
Student during the 2011-2012 school year. Mr. Sanchez and Ms. Gonzalez also credibly
testified that Ms. Knitter trained Mr. Sanchez in braille from the first week of school, that she
assisted in providing Student with his assignments and materials in braille, and that she
provided consultation services to both of them. The evidence established that Ms. Knitter's
training was sufficient to ensure that she could offer Student a meaningful educational
benefit. (Factual Findings 1 through 31; Legal Conclusions 1, 3 through 14.)

13. Student also did not meet his burden of establishing that District denied him a
FAPE by failing to provide him with an “adequately trained” one-to-one aide. As discussed
above, the District may, but is not required to, provide a “braille instruction aide” to reinforce
braille instruction. Here, District implemented the August 2, 2012 IEP by providing a SCP,
Mr. Sanchez. Although Mr. Sanchez testified that he had no direct experience working with
students with visual impairment before August 13, 2012, he had several years’ experience
working as a paraeducator with Students with multiple health issues. He also credibly
testified that he began working with Student on the first day of school, that he received
regular consultation and training from both Mr. Lund and Ms. Knitter in working with
visually impaired students, that he was learning braille, that he helped to transcribe Student's
assignments into braille with Ms. Knitter’s assistance, that he had a safety plan for Student,
and that he was receiving additional training in working with visually impaired students and
learning braille. He also credibly testified that he worked with Student daily on his goals and
assignments, he kept logs of Student’s activities and work in the Buddy Book, and he worked
in collaboration with Student’s service providers. Mr. Mekel credibly testified that District
was exploring additional training options for staff through the CSB and other resources,
which was reasonable based upon what the IEP team knew of Student’s unique needs at the
time of the August 2, 2012 IEP. Mr. Sanchez’ training and experience, in conjunction with
the consultation services offered by Mr. Lund and Ms. Knitter, were sufficient to ensure that
Mr. Sanchez’s SCP services could offer Student meaningful educational benefit, (Factual
Findings | through 31; Legal Conclusions 1, 3 through 15.)

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16. Student also did not meet his burden of establishing that District denied him a
FAPE because it failed to provide him with supervision/training by a person/agency qualified
to work with the visually impaired. The evidence established that District implemented
Student’s August 2, 2012 IEP by assigning Ms. Knitter and Mr. Lund to Student, both of
whom were qualified to deliver appropriate services to Student in TVI and O&M,
respectively, and to train and supervise Mr. Sanchez and Ms. Gonzalez, a credentialed
special education teacher, and other District staff in their work with Student. As discussed
earlier, Ms. Biggs opined that Ms. Knitter had delivered “remarkable” work to Student
during the 2011-2012 school year. Mr. Lund had worked with Student for the past four
years, and had 20 years of experience working with the visually impaired. Both Mr. Lund
and Ms. Knitter supervised Mr. Sanchez and Ms. Gonzalez in their work with Student, Mr.
Lund testified that he delivered more than the amount of O&M services called for in the
August 2, 2012 IEP, including consultation with Ms. Gonzalez and Mr. Sanchez, during the
first months of the school year. Additionally, as discussed above, Mr. Mekel credibly
testified that shortly after school started he consulted with the CSB on the availability of
additional resources for training and support for Student and District staff. Because Student
was new to the District, District’s ongoing research into other possible resources to support
Student’s unique needs was reasonable and consistent with the TEP team’s decision to
reconvene in not more than 90 days to reevaluate goals and services. Student offered no
evidence that he was denied meaningful educational benefit at the time he filed his
complaint, or up to the time of hearing, because of less than appropriate supervision or
training of District staff working with Student. (Factual Findings 1 through 31; Legal
Conclusions 1, 3 through 16.)

17. Student also did not meet his burden of establishing that District denied him a
FAPE by failing to offer or provide him with adequate O&M services. As discussed above,
the August 2, 2012 IEP offered Student 30 minutes a week of O&M services based upon Mr.
Lund’s recommendation. District implemented the IEP by assigning Mr. Lund, who
provided services as called for in the IEP. Ms. Biggs testified that she felt Student needed
additional training in skills he had not learned while in middle school and she recommended
one hour a week of O&M services. However, her opinions were based only upon her
observations of Student in middle school. Because Ms. Biggs was unfamiliar with the
Eastside campus or its available services and supports, her testimony did not outweigh Mr.
Lund’s credibility given his four years of experience working with Student. Student argued
in his closing brief that Mr. Lund’s decision to provide additional O&M time up to the time
of hearing was evidence that the IEP offer of 30 minutes weekly was insufficient. Student’s
argument was not persuasive nor did the evidence lead to such a conclusion. The fact that
Mr. Lund elected to temporarily increase the O&M services to aid Student during the first
few months of his transition to high school did not support a finding that the August 2, 2012
IEP offer was inappropriate, particularly because District reasonably acknowledged at the
IEP meeting that it needed up to 90 days to more fully evaluate Student’s needs for
additional services. Student offered no evidence that he was denied a meaningful
educational benefit because District failed to offer 1 hour a week of O&M services in the
August 2, 2012 IEP. (Factual Findings 1 through 31; Legal Conclusions 1, 3 through 13, 15
through 17.)
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18. Student also did not meet his burden of establishing that District denied him a
FAPE by failing to offer or provide him with training in braille and Nemeth Code. Ms.
Knitter credibly testified that, based upon the AT devices ordered by Ms. Knitter and made
available to Student during the first weeks of school, the IEP team contemplated that TVI
services would include continued training in braille and Nemeth Code for Student to access
his curriculum. Ms. Knitter, Ms. Gonzalez and Mr. Sanchez testified that Student received
instruction in braille and Nemeth Code from the first day of school, and he had a braille
writer and the Nemeth Code available to him during school hours. Student offered no
evidence that he was deprived of a meaningful educational benefit because District did not
specifically offer training in braille and Nemeth Code in the August 2, 2012 IEP. (Factual
Findings | through 31; Legal Conclusions 1, 3 through 13, 15, 16, 18.)

19. Student also did not meet his burden of establishing that District denied him a
FAPE by failing to offer Student the ECC as part of his educational program. First, the
evidence established through the credible testimony of Ms. Knitter and Ms. Biggs that the
ECC is not required by the CDE but is part of a 1997 compilation of recommendations and
guidelines for educators working with the visually impaired. As discussed above, as long as
a District provides appropriate instruction, methodology is left to the District’s discretion,
(Rowley, supra, 458 U.S. at p. 209.) Additionally, although the August 2, 2012 IEP did not
specifically state that the ECC would be part of Student’s curriculum, Ms. Knitter, Mr. Lund,
Mr. Sanchez and Ms. Gonzalez credibly testified that they delivered instruction in the nine
modules of the ECC, as they deemed appropriate for Student based upon his needs as known
to them. For example, Student received training in compensatory skills, including braille,
use of computer software designed to convert print to braille or audio. Student received
O&M from Mr. Lund. Ms. Gonzalez worked with student during class time on social
interaction and self-advocacy skills and Student participated in community-based instruction.
Mr. Lund and Mr. Sanchez worked with Student on independent living skills and personal
management, including how to button his pants and use the restroom. Student received AT,
and APE as part of his IEP. Student offered no credible evidence supporting a finding that
Student was deprived of a meaningful benefit because District did not specify in the August
2, 2012 IEP that he would receive instruction in the ECC. (Factual Findings 1 through 31;
Legal Conclusions 1, 3-13, 15, 19.)

20. Student also did not meet his burden of establishing that District denied him a
FAPE by failing to offer him a structured social skills program. First, Student offered no
credible evidence that he specifically required a structured social skills program that was
exclusive from components of the ECC and special education curriculum implemented by
District staff on District's comprehensive high school campus. Although Ms. Biggs
recommended that he engage in activities via the ECC that worked on his social skills, her
opinion, while informative, was not persuasive as to Student’s needs in high school because
she did not observe Student at Eastside and she did not know what curriculum or services
were available to Student at Eastside. On the other hand, the evidence established that the
August 2, 2012 IEP team determined from a review of his PLOPs that Student got along with
his peers, he showed kindness and compassion towards them, he followed all school rules
and adult directions, he behaved on the bus and on the playground, he followed step by step

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directions, enjoyed going into the community, could feed himself and was loved by the staff
at Palmdale. His IEP included goals in social skills. Ms. Gonzalez and Mr. Sanchez testified
that they worked with Student on social advocacy, social skills and social interaction with his
peers throughout the school day in the high school environment. Student offered no
evidence that he was deprived of meaningful educational benefit because District did not
offer him a separate structured social skills program in the August 2, 2012 IEP. (Factual
Findings | through 31; Legal Conclusions 1, 3 through 20.)

21. ‘Finally, Student did not meet his burden of establishing that District
procedurally or substantively denied him a FAPE by failing to hold a “high school transition
IEP.” First, Student did not cite to any legal authority in his closing brief that established
that District was required to have a “high school transition plan” in place for Student. On the
other hand, as discussed above, the IDEA requires that a District have an IEP offer in place
at the beginning of each school year. Here, the evidence established that District staff
accompanied Student and Mother on a tour of District’s high school campuses in July, during
summer break, and then held an IEP meeting on August 2, 2012 before school started. The
August 2, 2012 IEP was signed and in place before school started, establishing that District
complied with its obligations under the IDEA. At the start of school, District assigned Mr.
Lund and Ms. Knitter to work with Student in O&M and TVI services, both of whom
provided a continuity of services to ensure a successful transition to high school. Student
offered no evidence that he was deprived of any meaningful educational benefit because
District did not hold a “high school transition” IEP. (Factual Findings 1 through 31; Legal
Conclusions 1, 3 through 21.)

22. In summary, Student did not meet his burden of proof as to any of the sub-
parts of Issue 1.

Lssue 2: Failure to offer appropriate goals

23. Student next contends that District denied him a FAPE by failing to offer
appropriate goals, as recommended by Dr. Patterson and Ms. Biggs, in the August 2, 2012
IEP. District contends that the goals in Student’s August 2, 2012 IEP were appropriate based
upon what District reasonably knew about Student’s needs at the time of the IEP, and
therefore the IEP offered Student a FAPE. Student failed to meet his burden by the
preponderance of the evidence.

Applicable Law

24, Legal Conclusions one and three through 21 are incorporated by reference.

25. An JEP must contain a statement of measurable annual goals related to
“meeting the child's needs that result from the child's disability to enable the child to be
involved in and progress in the general curriculum” and “meeting each of the child’s other

educational needs that result from the child's disability.” (20 U.S.C. § 1414(d)(1 YA)(ii); Ed.
Code, § 56345, subd. (a)(2).) The IEP must also contain a statement of how the child’s goals

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will be measured. (20 U.S.C. § 1414(d)(1 (A)(wiii); Ed. Code, § 56345, subd. (a)(3).) The
IEP must show a direct relationship between the present levels of performance, the goals, and
the educational services to be provided. (Cal. Code Regs., tit. 5, § 3040, subd. (c).) An
examination of an JEP's goals is central to the determination of whether a student has
received a FAPE. In Adams, etc. v. Oregon, supra, 195 F.3d at p. 1149, the court stated:
“[W]e look to the [IEP] goals and goal achieving methods at the time the plan was
implemented and ask whether these methods were reasonably calculated to confer ... a
meaningful benefit.”

Analysis of Issue Two

26. The evidence established through the testimony of Ms. Knitter, Ms. Gonzalez,
Ms. Astorian, Dr. Patterson, Ms. Biggs and Mr. Lund that the IEP team considered Student’s
PLOPs based upon Ms. Biggs’ and Dr. Patterson’s reports, and as reported by Ms. Knitter
and Mr. Lund. District staff needed time to get to know Student’s needs by working with
him on his current goals in the high school setting, a decision with which both Dr. Patterson
and Ms. Biggs concurred. Ms. Knitter credibly testified that working with Student on his
December 2011 goals in the high school environment was appropriate to better determine his
needs, notwithstanding that Student had met some of those goals in middle school. The IEP
team reasonably concluded that District would incorporate the goals from December 2011]
IEP into the August 2, 2012 IEP to allow District staff to evaluate Student’s performance on
the goals in the high school environment and prepare for his annual IEP in December. Ms.
Biggs opined that Student should have goals in daily living skills, literary braille, Nemeth
braille, O&M, social skills and vocational transitional skills, many of which were
incorporated into the IEP goals. Dr. Patterson recommended three O&M goals in
conjunction with Mr. Lund that the IEP team also incorporated into the IEP. Although Ms.
Biggs recommended additional goals, Student offered no credible evidence to support a
finding that the 20 annual goals included in the August 2, 2012 JEP in the areas of math,
braille, writing, language arts, adaptive living skills, pragmatic language, O&M, social
emotional, object control, and gross motor were not appropriate or were not designed to meet
all of Student’s unique needs as reasonably known to the IEP team on August 2, 2012.
Student also offered no credible evidence supporting a finding that District denied Student a
FAPE by failing to offer appropriate goals resulting in a deprivation of meaningful
educational benefit. (Factual Findings 1 through 31; Legal Conclusions 1, 3 through 21, 25,
26.)

Issue 3: Failure to offer and specifically document AT

27. Student contends that District procedurally violated the IDEA by failing to
document his need for AT and by failing to offer Student AT in the August 2, 2012 IEP. As
a result, Student contends that District deprived Mother of the opportunity for meaningful
participation in the development of Student’s educational program, and deprived Student of
educational benefit and a FAPE. District contends that a technical error in Student’s IEP
relating to AT was corrected shortly after the IEP meeting, and that the error did not result in
a deprivation of any meaningful educational benefit to Student during the short time between

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the IEP meeting and the August 24, 2012 amendment. Student failed to meet his burden by
the preponderance of the evidence.

Applicable Law

28. Legal Conclusions one, three through 22, and 24 through 26 are incorporated
by reference.

29. The IEP team must consider whether a student requires assistive technology
devices and services. If the IEP team determines that a student requires a particular device or
service in order for Student to receive a FAPE, the IEP team must include a statement to that
effect in the pupil’s IEP. (Ed. Code § 56341.1(b)(5), (c).) An assistive technology device
means any item, piece of equipment or product system that is used to increase the functional
capabilities of a child with a disability. (20 U.S.C. § 1401(1); 34 CER. § 300.5 (2006); Ed.
Code, § 56020.5.) An assistive technology service is any service that helps a disabled child
select an appropriate assistive technology device, obtain the device, or train the child to use
the device. (20 U.S.C. § 1401(2); 34 CER, § 300.6 (2006).)

Analysis of Issue Three

30. As discussed above, an IEP must include a statement of the special education
and related services, including AT, including time and frequency that will be provided to the
student. Based on the credible testimony of Mr. Mekel, Ms. Astorian, Ms. Taylor, and Ms.
Knitter, the software issues with SEIS caused the final printed version of the IEP developed
by the August 2, 2012 IEP to have clerical errors regarding AT services by stating that
Student did not require assistive technology, which was a technical procedural violation
because the IEP team intended to offer and provide AT to Student. However, page four of
41 of the August 2, 2012 IEP specified that Student required low incidence services,
equipment and/or materials to meet his educational goals. It also specified that Student
required equipment and training to assist in improving functional mobility skills, training to
assist with braille and software for the visually impaired, technology and other educational
materials for the visually impaired and blind, and print materials converted to braille.
District partially corrected the clerical error by changing the check box from “no” to “yes” in
the August 17, 2012 amendment. District did not add a specific list of the AT devices that it
offered to Student, which was called for on the Special Factors page in parenthesis by the
word “specify” following the word “yes.” Nevertheless, the August 2, 2012 IEP as amended
on August 24, 2012 substantially complied with the IDEA. (Factual Findings | through 31:
Legal Conclusions |, 3 through 22, 24 through 26, 28 through 30.)

31. Regarding the time period between August 2, 2012 and August 24, 2012,
Student did not offer any credible evidence that, prior to the August 24, 2012 IEP
amendment, the clerical error in the IEP relating to AT denied Mother the opportunity to
meaningfully participate in the decision-making process regarding Student’s educational
program, substantively denied him a FAPE or deprived him of access to his education.

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32. The evidence established that Mother meaningfully participated in the August
2, 2012 IEP with the assistance of her legal counsel, Dr. Patterson and Ms. Biggs. The IEP
team considered Mother’s questions and concerns and the recommendations made by Dr.
Patterson and Ms. Biggs, both of whom actively participated in the lengthy IEP meeting.
The evidence also established through the credible testimony of Ms. Knitter, Mr. Lund and
Mother that the IEP team agreed that Student would receive AT devices as part of his IEP,
Ms. Knitter and Mr. Lund had an actual understanding during the August 2, 2012 IEP
meeting, in light of Ms. Biggs’ and Dr. Patterson’s recommendations and their own
experience working with Student, of what AT devices Student needed to access his education
at Eastside during his transition to high school. Ms. Knitter met with the AT service provider
at Eastside on the first day of school to insure that the devices were ordered if not
immediately available.

33. The evidence also established that District tumely implemented the IEP, as
amended on August 24, 2012. Notwithstanding the clerical error discussed above, beginning
with the first week of school and until the time of hearing, District provided Student with a
variety of AT devices, many of which Ms. Biggs recommended, including a longer cane, a
classroom desktop computer with braille overlays for the keyboard, a laptop computer with
NVDA and Duxbury software for home use, a USB memory stick for transport of work from
home to school, a Bookport, a braille writer, an Eye Pal Solo oral reader, a Nemeth decoder
for work with numbers and mathematics, and a talking calculator. District’s failure to check
the box “yes” in the original IEP, and specify which devices would be provided to Student in
the August 24, 2012 IEP amendment, was not significant under all of the above
circumstances, and did not substantively deny Student a FAPE. (Factual Findings | through
31; Legal Conclusions 1, 3 through 22, 24 through 26, 28 through 33.)

34. Student also contends that District denied him a FAPE by not offering all of
the AT devices recommended by Ms. Biggs. Although Ms. Biggs recommended an abacus,
a talking watch and a tactile map of the campus, Mr. Lund and Ms. Knitter disagreed that
those devices were essential for Student to access his education. Ms. Biggs’
recommendations were based on her assessments of Student while he was in middle schoo!
in another District, and she was unfamiliar with Eastside, all of which reduced the persuasive
impact of her recommendations. On the other hand, Ms. Knitter and Mr. Lund credibly
testified that they had worked regularly with Student during the past school year, that Student
had made progress and met some of his goals during their prior instruction, and they needed
to work with Student in his high school environment to determine whether he had additional
specific needs. Student did not offer any evidence that by not having an abacus, a talking
watch or a tactile map of the campus he could not meaningfully access his education at
Eastside. Ms. Knitter’s and Mr. Lund’s testimony, when weighed against that of Ms. Biggs,
was more persuasive on this issue,

35. As discussed above, under Rowley, supra, 458 U.S. at pp. 200, 203-204, 207,
District was only required to provide Student with access to an education that is reasonably
calculated to “confer some educational benefit.” Here, District acted reasonably by

providing Student with numerous AT devices during the first several weeks of school based

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upon the knowledge it had of Student’s unique needs at the time of the IEP. District also
provided Student with AT services from Ms. Knitter and Mr. Lund to train Student and assist
him in using the devices. Student did not meet his burden to prove by a preponderance of the
evidence that District denied him a FAPE by failing to provide Student with all of the AT
devices recommended by Ms. Biggs. (Factual Findings 1 through 31; Legal Conclusions 1, 3
through 22, 24 through 26, 28 through 35.)

ORDER

All of Student’s claims for relief are denied.

PREVAILING PARTY

Education Code section 56507, subdivision (d), requires that this Decision indicate
the extent to which each party prevailed on each issue heard and decided in this due process
matter. District prevailed as to all issues that were heard and decided in this case.

RIGHT TO APPEAL THIS DECISION

This is a final administrative decision, and all parties are bound by it. Pursuant to
Education Code section 56506, subdivision (k), any party may appeal this Decision to a court
of competent jurisdiction within ninety days of receipt.

Dated: November 27, 2012

/s/
ADRIENNE L. KRIKORIAN
Administrative Law Judge
Office of Administrative Hearings

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DECLARATION OF SERVICE

OAH No.: 2012080375

I, Tim Dean, declare as follows: I am over 18 years of age and am not a party to this action. Iam
employed by the Office of Administrative Hearings. My business address is 2349 Gateway Oaks
Drive, Suite 200, Sacramento, CA 95833. On November 27,2012, I served a copy of the
following document(s) in the action entitled above:

DECISION

to each of the person(s) named below at the addresses listed after each name by the following
method(s):

[see attached service list or]

Christian Knox Bridget Cook

Ruderman & Knox, LLP Antelope Valley UHSD

1300 National Drive, Suite 120 44811 Sierra Highway
Sacramento, CA 95834 Lancaster, CA 93534

Via GSO, courtesy copy via fax Via GSO, courtesy copy via fax
Mirani Nichols

5703 Evergem Avenue
Palmdale, CA 93552
Via GSO

Fax Transmission. Based upon agreement of the parties to accept service by fax transmission,
I personally transmitted the above-described document(s) to the person(s) at the fax number(s)
listed above, from fax machine number (916) 376-6319, pursuant to Government Code section
11440.20 and California Code of Regulations, title 1, section 1008, subdivision (d).

Overnight Delivery. I enclosed the above-described document(s) in a sealed envelope or
package addressed to the person(s) at the address(es) listed above, and placed the envelope or
package with overnight delivery by an overnight delivery carrier at our office’s regularly utilized
drop box or at a location regularly utilized for collection and overnight delivery by an authorized
overnight delivery courier for our office.

I declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct. This declaration was executed at Sacramento, California on November 27, 2012,

/s/
Tim Dean, Declarant
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Dolly Gee and the assigned discovery
Magistrate Judge is Michael Wilner.

The case number on all documents filed with the Court should read as follows:

Cv13- 1452 DMG (MRWx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on ail plaintiffs).

Subsgquent documents must be filed at the following location:

Western Division L] Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Case 2:13-cv-01452-DMG-MRW Document 3| Filed 03/04/13 Page 51of52 Page ID #118
Name & Address:
F. Richard Ruderman (SB No. 142226)
Christian M. Knox (SB No. 171780)
Ruderman & Knox, LLP
1300 National Drive, Suite 120
Sacramento, CA 95834

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

M.C., by and through his guardian ad litem, M.N; and | Gasp NUMBER
M.N., Parent, {
[3
| FP 0V13-01452 pn pes
PLAINTIFF(S)
Vv.
ANTELOPE VALLEY UNION HIGH SCHOOL
DISTRICT
SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.
7]
Within _ 24 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached i complaint C amended complaint
CJ counterclaim CH cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Christian M. Knox , whose address is
1300 National Drive, Suite 120 Sacramento, CA 95834 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

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& | Clerk, U.S. District Court
MAR ~ 4 2013 a )
| By: Lamy)

 

Deputy Clerk

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-OLA (10/11 SUMMONS
:143-cv- - -MRW_ Document 3 | Filed 03/04/13 Page 52 of 52 Page ID #:119
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F. Richard Ruderman (SB No. 142226)
Christian M. Knox (SB No. 171780)
Ruderman & Knox, LLP

1300 National Drive, Suite 120
Sacramento, CA 95834

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
M.C., by and through his guardian ad litem, M.N; and
M.N., Parent,

CASE NUMBER

v. PLAINTIFF(S) P CV 1 4 ~ 0 | A 5 ? Dp / for

ANTELOPE VALLEY UNION HIGH SCHOOL
DISTRICT

 

SUMMONS
DEFENDANT(S).

 

TO: | DEFENDANT(S):

A lawsuit has been filed against you.

 

Within x days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached lM complaint C amended complaint
C] counterclaim Cl cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Christian M. Knox , whose address is
1300 National Drive, Suite 120 Sacramento, CA 95834 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

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Clerk, U.S. District Court

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[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

ef,

 

CV-OLA (10/11 SUMMONS
